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Kathleen A. McCallister
R




Chapter 13 Trustee
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                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO


    IN RE:                                                CHAPTER 13

    STEPHEN A DEVEREAUX                                   CASE NO. 24-40069-NGH
    KATHERINE C BLOMQUIST


                          TRUSTEE’S OBJECTION TO CONFIRMATION

         NOW COMES Kathleen A. McCallister, the standing Chapter 13 Trustee for the United States
Bankruptcy Court for the District of Idaho and as for her Objection to Confirmation of Debtor(s) plan
states as follows:
    1.   Debtor(s) filed for Chapter 13    02/18/2024
         relief on:
    2.   The §341(a) Meeting of            ☒ Concluded
         Creditors held on 04/10/2024      ☐ Taken off calendar
         was:                              ☐ Continued to:

    3.   Discharge:                        ☒ Debtor(s) are eligible for a discharge.
                                           ☐ Debtor(s) are not eligible for a discharge in this case.
                                           ☐ Other:

    4.   Plan Payments:                    ☒ Debtor(s) are current on their plan payments.
                                           ☐ Debtor(s) are delinquent in their plan payments in the
                                           amount of:
                                           ☐ Debtor(s) are currently making plan payments pursuant
                                           to a wage deduction order.

    5.   Trustee objects to confirmation   ☐ Chapter 13 Plan unfairly discriminates against a class
         of the Chapter 13 Plan filed      of general unsecured claims [11 USC § 1322(b)(1)].
         2/18/24 for the following
         reasons:                          ☐ Debtor(s) plan fails to provide for the following secured
                                           debt(s):
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                                         ☐ The proposed Chapter 13 Plan is not feasible as the
                                         debtor(s) lacks sufficient regular income [11 USC §
                                         109(e)].

                                        ☐ The proposed Chapter 13 Plan is underfunded in the
                                        amount of:

                                        ☐ Notice is insufficient pursuant to Bankruptcy Rule 7004
                                        for the following creditor(s):

                                        ☒ Plan fails to provide for full payment of the following
                                        claims entitled to priority as required by 11 U.S.C. §
                                        507(a): Claim of IRS for $2,302.79.

                                        ☐ The proposed Chapter 13 Plan fails to meet liquidation
                                        value [11 USC 1325 (a)(4)] due to:

                                        ☒ Other: Paragraph 4.3 fails to list how Counsel will be
                                        paid. Debtors can file an amended plan or the balance due
                                        on attorney’s fees can be paid over the term of the plan and
                                        resolved in the order of confirmation.

6.    The following creditor(s)         Objection to Confirmation filed by:
      objections will need to be
      resolved prior to confirmation:

7a.   Income and Expenses               ☐ Unreasonable expenses:

      The proposed Chapter 13 plan      ☐ Tax Refunds should be paid into plan in addition to
      fails to provide that all of      plan payments.
      debtor(s)’ projected disposable
      income to be received during      ☐ Debtor(s) are contributing to voluntary retirement
      the applicable commitment         accounts.
      period will be applied to make
      payments to unsecured creditors
                                        ☐ Debtor(s) are paying secured claims directly, plan
      under the plan, [11 USC §1325
                                        payments will need to increase once the following secured
      (b)(1)(B)]
                                        claims have been paid in full:

                                        ☒ Mrs. Devereaux does not receive any child support for
                                        her 10 year old daughter. Debtor(s) will need to file an
                                        amended Schedule I if there is a change and Ms.
                                        Bloomquist receives support, a contribution for the child’s
                                        spot, or any other funds for her daughter.
7b.   Form 122C:                        ☒ Above Median Debtor(s):
                                            ☐ Plan proposed is not 60 months.
                                            ☐ Plan payment is insufficient – debtor(s) are not
                                                meeting the disposable income requirement of Form
                                                122C.
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                                            ☐ Following expenses are inconsistent between
                                               schedules I/J and Form 122C:
                                            ☐ Following lines are incorrect on Form 122C:

8.    Trustee is missing the following ☐ Proof of expenses required:
      documentation, or the
      documentation provided is        ☐ Proof that the Debtor(s) filed the last 4 years of tax
      incomplete:                      returns pursuant to 11 USC § 1307(e). Trustee is missing
                                       tax returns for:

                                       ☐ Paycheck stubs or proof of current income– Trustee is
                                       missing:

                                       ☒ Divorce decree(s) and/or child support order(s).
                                       Husband’s divorce decree from Kellie Devereaux
                                       ☐ Bank statements from the date of filing and the 90 days
                                       prior to filing. Trustee is missing the following statements:

                                       ☐ Proof of when any current retirement loans will be
                                       repaid.

                                       ☐ Installment contracts for all secured claims to be paid
                                       through paragraphs 3.1 or 3.3 of the plan.

                                       ☒ Other: Mr. Devereaux sold real estate in Hinckley
                                       Illinois around October 21 and shared the proceeds with his
                                       prior spouse and he sold real estate in Oglesby, Illinois in
                                       2022 and used the proceeds to pay off a loan, purchase a
                                       vehicle for Katherine, and for a downpayment on his Idaho
                                       real estate. Trustee has requested copies of the closing
                                       statements to verify the amount of funds received and if
                                       there were any voidable transfers. At the time of both real
                                       estate transactions, Mr. Devereaux owed a debt to William
                                       Horoszko in excess of $180,000 stemming from a loan of
                                       $115,000 that was made From Mr. Horoszko to Stephen
                                       Devereaux which was supposed to be paid upon the sale of
                                       the Hinckley property. It does not appear that Mr.
                                       Horoszko received any funds from either transaction.

9.    If the Debtor(s) are self-       ☐ Trustee will request that the Debtor(s) provide periodic
      employed:                        business reports as a confirmation requirement over the
                                       term of the plan.

10.   Income appears to be overstated Income is different for
      or understated per the Trustee’s ☐ Debtor:
      calculations:
                                       ☐ Co-debtor:
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 11.   The following Schedules and/or ☐ Schedules A/B:
       Forms will need to be amended: ☐ Schedule C:
                                        ☐ Schedule D:
                                        ☐ Schedules E/F:
                                        ☐ Schedule G:
                                        ☐ Schedule H:
                                        ☐ Schedules I/J:
                                        ☐ Statement of Financial Affairs:

 12.   Attorney’s fees and Filing Fees:   ☐ Plan indicates a Model Retention Agreement case but
                                          no such agreement has been filed with the court.

                                          ☒ Counsel for the debtor(s) will need to file a detailed fee
                                          application with the court for attorney’s fees requested up
                                          to $6,687.
                                          ☒ Form B2030 is inconsistent with the plan and/or
                                          schedules. The 2030B inadvertently indicates Counsel
                                          received $678 prior to filing instead of $687 prior to filing
                                          and should be amended or addressed in the order of
                                          confirmation.



        WHEREFORE, the trustee objects to confirmation of the Chapter 13 Plan for the foregoing
reasons.

       DATED: April 28, 2024

                                                     /s/ Kathleen McCallister
                                                    Kathleen McCallister, Trustee
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                                   CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on April 28, 2024, I filed the foregoing electronically through the
CM/ECF system, which caused the following parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing:

Office of the U.S. Trustee
ustp.region18.bs.ecf@usdoj.gov

ALEXANDRA O CAVAL
Attorney at Law
alex@cavallawoffice.com



AND I FURTHER CERTIFY that on such date I served the foregoing on the following non CM/ECF
Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:

   STEPHEN A DEVEREAUX
   KATHERINE C BLOMQUIST
   509 N LYNDON ST
   JEROME, ID 83338




                                                     /s/ Kathleen McCallister
                                                    Kathleen McCallister, Trustee
